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 9                                 UNITED STATES DISTRICT COURT
10                                EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA            )                 CASE NO.        2:11-cr-210-JAM
                                         )
13               Plaintiff,              )
                                         )                 STIPULATION AND
14         v.                            )                 ORDER TO MODIFY SPECIAL
                                         )                 CONDITIONS OF PRETRIAL
15   NADIA KUZMENKO,                     )                 RELEASE
                                         )
16                                       )                 Date: 08/30/11
                 Defendant.              )                 Time: 9:30 a.m.
17   ___________________________________ )
18
19             Defendant, Nadia Kuzmenko, through her counsel, and the United States, through its
20   counsel, hereby stipulate and request that the Special Conditions of Pretrial Release for Nadia
21   Kuzmenko be amended so as to remove Condition no. 8 which states:
22                    “You shall participate in a program of medical or psychiatric
                      treatment, including treatment for drug or alcohol dependency, as
23                    approved by the pretrial services officer”
24             According to U.S. Pretrial Services Officer Becky Fidelman, the need for counseling has
25   passed. All other terms and conditions of pretrial release are to remain in effect.
26   ///
27   ///
28   ///
      Case 2:11-cr-00210-DAD Document 65 Filed 07/18/11 Page 2 of 2


 1   IT IS SO STIPULATED.
 2
 3   DATED:     July 14, 2011          /s/ Steve Lapham
                                       STEVE LAPHAM
 4                                     Assistant United States Attorney
 5
 6   DATED:     July 14, 2011          /s/ William J. Portanova______________________
                                       WILLIAM J. PORTANOVA
 7                                     Attorney for Defendant Nadia Kuzmenko
 8
 9
     IT IS SO ORDERED.
10
11   DATED:     7/15/2011              /s/ John A. Mendez
                                       THE HON. JOHN A. MENDEZ
12                                     United States District Court
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